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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

b—

UNITED STATES OF AMERICA

V. Criminal No.
JENNIFER LYNNE FAITH Q=9 1 C RO1 3 7. B
INDICTMENT
The Grand Jury Charges:
Count One

Obstruction of Justice — Destruction and Concealment of
A Tangible Object with the Intent to Obstruct a Federal Investigation
(Violation of 18 U.S.C. § 1519)

On or about January 10, 2021, in the Dallas Division of the Northern District of
Texas, Jennifer Lynne Faith, the defendant herein, did knowingly alter, destroy, conceal
and cover up a record or tangible object, to-wit: text messages on a cellular telephone,
with the intent to impede, obstruct, and influence the investigation of a matter that the
defendant knew or contemplated was within the jurisdiction of the Bureau of Alcohol,
Tobacco, Firearms and Explosives or Department of Justice, a department or agency of

the United States.

In violation of 18 U.S.C. § 1519.

Indictment - Page 1

 
 

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Count Two
Obstruction of an Official Proceeding
(Violation of 18 U.S.C. § 1512(b)(2)(B))

On or about December 4, 2020, in the Dallas Division of the Northern District of
Texas and elsewhere, Jennifer Lynne Faith, the defendant herein, did knowingly and
corruptly persuade another person, D.R.L., to alter, destroy, mutilate and conceal an
object, to-wit: a “T” decal/sticker located on the back window of a 2004 Nissan Titan
pickup truck, with the intent to impair the object’s integrity and availability for use in an

official proceeding.

In violation of 18 U.S.C. § 1512(b)(2)(B).

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Forfeiture Notice
(18 U.S.C. § 853(p))
Pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), if any of

the property described above, as a result of any act or omission of the defendant (1)
cannot be located upon the exercise of due diligence; (2) has been transferred or sold to,
or deposited with, a third party; (3) has been placed beyond the jurisdiction of the court;
(4) has been substantially diminished in value; or (5) has been commingled with other
property which cannot be divided without difficulty, the United States will seek forfeiture

of any other property of the defendant up to the value of the forfeitable property.

A TRUE BILL:

 

 

PRERAK SHAH
ACTING UNITED STATES ATTORNEY

 

 

Rick Calvert

Assistant United States Attorney
Texas State Bar No. 03669700
1100 Commerce Street, Third Floor
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

JENNIFER LYNNE FAITH

 

INDICTMENT

18 U.S.C. § 1519
Obstruction of Justice — Destruction and Concealment
of A Tangible Object with the Intent to Obstruct a Federal Investigation
(Count 1)

18 U.S.C. § 1512(b)(2)(B)
Obstruction of an Official Proceeding

(Count 2)

21 U.S.C. § 853(p)
Forfeiture Notice

2 Counts

 

 

A true bill rendered ABN

DALLAS FOREPERSON

Filed in open court this 25 day of March, 2021.

 

SN Ne

UNITED STATES MA TE JUDGE
Magistrate Court Numbef: 3:21-MJ-00167-BK
